                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


        BRIGHT DATA LTD.                            §
                                                    §
                    Plaintiff,                      §
             v.                                     §   Case No. 2:19-CV-00414-JRG
                                                    §
        TEFINCOM S.A. D/B/A NORDVPN                 §
                                                    §
                    Defendant.                      §


                        SECOND AMENDED DOCKET CONTROL ORDER

         In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further order of this Court:

    Date Provided Proposed      Event
    by the Court  Amended Dates

    January 3, 2022                     *Jury Selection – 9:00 a.m. in Marshall, Texas

    December       6,                   * If a juror questionnaire is to be used, an editable (in
    2021                                Microsoft Word format) questionnaire shall be jointly
                                        submitted to the Deputy Clerk in Charge by this date.1

    November      29,                   *Pretrial Conference – 9:00 a.m. in Marshall, Texas
    2021                                before Judge Rodney Gilstrap

    November      22,                   *Notify Court of Agreements Reached During Meet and
    2021                                Confer

                                        The parties are ordered to meet and confer on any
                                        outstanding objections or motions in limine. The parties
                                        shall advise the Court of any agreements reached no later
                                        than 1:00 p.m. three (3) business days before the pretrial
                                        conference.



1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.
    November   22,                      *File Joint Pretrial Order, Joint Proposed Jury
    2021                                Instructions, Joint Proposed Verdict Form, Responses to
                                        Motions in Limine, Updated Exhibit Lists, Updated
                                        Witness Lists, and Updated Deposition Designations

    November   15,                      *File Notice of Request for Daily Transcript or Real Time
    2021                                Reporting.

                                        If a daily transcript or real time reporting of court
                                        proceedings is requested for trial, the party or parties
                                        making said request shall file a notice with the Court and
                                        e-mail the Court Reporter, Shelly Holmes, at
                                        shelly_holmes@txed.uscourts.gov.

    November    8,                      File Motions in Limine
    2021
                                        The parties shall limit their motions in limine to issues that
                                        if improperly introduced at trial would be so prejudicial
                                        that the Court could not alleviate the prejudice by giving
                                        appropriate instructions to the jury.

    November    8,                      Serve Objections to Rebuttal Pretrial Disclosures
    2021

    November    1,                      Serve Objections to Pretrial Disclosures; and Serve
    2021                                Rebuttal Pretrial Disclosures

    October    18,                      Serve Pretrial Disclosures (Witness List, Deposition
    2021                                Designations, and Exhibit List) by the Party with the
                                        Burden of Proof

    October    12,                      *Response to Dispositive Motions (including Daubert
    2021                                Motions). Responses to dispositive motions that were
                                        filed prior to the dispositive motion deadline, including
                                        Daubert Motions, shall be due in accordance with Local
                                        Rule CV-7(e), not to exceed the deadline as set forth in
                                        this Docket Control Order.2 Motions for Summary
                                        Judgment shall comply with Local Rule CV-56.



2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.



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 September    27,                      *File Motions to Strike Expert Testimony (including
 2021                                  Daubert                                   Motions)

                                       No motion to strike expert testimony (including a Daubert
                                       motion) may be filed after this date without leave of the
                                       Court.

 September    27,                      *File Dispositive Motions
 2021
                                       No dispositive motion may be filed after this date without
                                       leave of the Court.

                                       Motions shall comply with Local Rule CV-56 and Local
                                       Rule CV-7. Motions to extend page limits will only be
                                       granted in exceptional circumstances.    Exceptional
                                       circumstances require more than agreement among the
                                       parties.

 September    20,                      Deadline to Complete Expert Discovery
 2021

 September      7, September       9, Serve Disclosures for Rebuttal Expert Witnesses
 2021              2021

 August 9, 2021     August       12, Deadline to take two additional hours of deposition of
                    2021             Karolis Pabijanskas

 August 9, 2021                        Deadline to Complete Fact Discovery and File Motions to
                                       Compel Discovery

 August 16, 2021 August          19, Serve Disclosures for Expert Witnesses by the Party with
                 2021                the Burden of Proof

 August 18, 2021                       Comply with P.R. 3-7 (Opinion of Counsel Defenses)
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.


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        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(l), which provides that
"[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise." Additionally, once designated, a party's lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)     The fact that there are motions for summary judgment or motions to dismiss pending;

(b)     The fact that one or more of the attorneys is set for trial in another court on the same day,
        unless the other setting was made prior to the date of this order or was made as a special
        provision for the parties in the other case;

(c)     The failure to complete discovery prior to trial, unless the parties can demonstrate that it
        was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff



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shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.




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